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UNITED STATES DISTRICT COURT 7m C,
WESTERN DISTRICT OF NORTH CAROLINA APR 25 2004
CHARLOTTE DIVISION 0
DOCKET NO. .3:0G6 ChE Y-C U. Ww DISTRICT coy
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UNITED STATES OF AMERICA ) I. OF N, C.
)
v. ) PLEA AGREEMENT
)
HAISSAM NASHAR, a/k/a “Sam” )

The United States of America, by and through Gretchen C. F. Shappert, United States
Attorney for the Western District of North Carolina, and the defendant, HAISSAM NASHAR, a/k/a
“Sam,” in person and through counsel, LYLE YURKO and CHRISTOPHER FIALKO, respectfully
inform the Court that they have reached the following agreement:

I. Plea

1. The defendant agrees to enter a voluntary plea of guilty to Counts 1 and 2 in the
Bill of Information, and admits to being in fact guilty as charged.in those counts. At the
appropriate time the United States will dismiss the charges against the defendant in the
Superseding Bill of Indictment, United States v. Nashar, W.D.N.C. Case No. 3:05CR376-C.

II. Sentence

2. The defendant is aware that the statutory minimum and maximum sentences for
each count are as follows:

Count 1 (Hebbs Act extortion — 18 U.S.C. § 1951): a $250,000 fine, and no more
than twenty years imprisonment, or both; and no more than five years supervised
release.

Count 2 (Felon in possession of a firearm — 18 U.S.C. § 922(g)): a $250,000 fine,
and no more than 10 years imprisonment, or both; and no more than three years
supervised release.

3. The defendant understands that supervised release is a term of supervision that
runs consecutively to any sentence of incarceration and that if the Court imposes a term of
supervised release, the United States Probation Office will supervise him during that term and
will require that he make regular reports and visits to its office. The defendant understands that a
violation of the conditions of supervised release may subject him to an additional period of
incarceration up to the maximum term of years imposed as supervised release. .
A. The defendant is aware that the Court will consider the United States Sentencing
Guidelines (“U.S.S.G.”’) in determing the appropriate sentence and that the sentence will be
without parole. The defendant is further aware that the Court has not yet determined the sentence,
that any estimate from any source, including defense counsel, of the likely sentence is a
prediction rather than a promise, and that the Court has the final discretion to impose any
sentence up to the statutory maximum for each count. The defendant further understands that no
recommendations or agreements by the United States are binding upon the Court. .

5. With regard to the United States Sentencing Guidelines, the defendant and the
United States, pursuant to Fed. R. Crim P. 11(c)(1){B), stipulate and agree to the following:

a. Count 1 Sentencing Calculations

Base offense level (Hobbs Act extortion) 18
(U.S.S.G. § 2B3.2{a))

express or implied threat of death or bodily harm +2
(U.S.S.G. § 2B3.2(b)(1))

loss to victims (more than $250,000) +3
(U.S.S.G. § 2B3.2(b)(2))

firearm discharged +7
(U.S.S.G. § 2B3.2(b)(3)(A)(i))

accessory after the fact
(U.S.S.G. § 2X3.1) / -6

 

Adjusted Offense Level 24

-b. Count 2 Sentencing Calculations

Base offense level (felon in possession) 14
(U.S.S.G. § 2K2.1(a)(6)(A))

c. Provided that the defendant clearly demonstrates acceptance of
responsibility for his offense, as well as all relevant conduct, the government will
recommend a two-level reduction in offense level pursuant to U.S.S.G. § 3E1.1(b)(2).

Provided that the defendant has timely provided information to the government
concerning his involvement in the offense charged, or has timely notified authorities of an
intention to plead guilty, the government will recommend an additional one-level
reduction pursuant to U.S.S.G. § 3E1.1(b)(2).

However, the defendant understands that any reduction in offense level is
ultimately for the Court’s determination.

d. The defendant and the United States agree that the appropriate sentence is
one within “the applicable guideline range” (U.S.S.G. § 5C1.1) and that neither Party
will seek a departure from that range.

6. The defendant agrees to pay full restitution, regardless of the resulting loss
amount, which restitution will be included in the Court’s Order of Judgment. The defendant
agrees that such restitution will include all victims directly or indirectly harmed by the
defendant’s “relevant conduct,” including conduct pertaining to any dismissed counts or
uncharged conduct, as defined by U.S.S.G. § 1B1.3, regardless of whether such conduct
constitutes an “offense” under 18 U.S.C. §§ 3663 or 3663A. The defendant consents to a civil
judgment in state of federal court concerning a claim filed by a “victim” as defined in 18 U.S.C.
§§ 3663(a)(2) and 3663A(a)(2). The defendant understands that with a Judgment and
Commitment Order that requires the payment of restitution, a lien will be filed on his property.
Defendant also understands that his obligation to make restitution shall last for twenty years after
the entry of the judgment, release from imprisonment, or until his death. 18 U.S.C. § 3613.

7. The parties agree that the Court shall set the amount of fine and shall consider the
Fine Table in U.S.S.G. § 5E1.2 as advisory.

8. If more than $500.00 in restitution, fines, and/or assessment is owed to the United
States government, a lien will be filed. The defendant understands that if a lien is filed against
his property, his obligation to pay restitution shall last for twenty years after any imprisonment
ordered or until his death. 18 U.S.C. § 3613.

9. The defendant hereby agrees to pay the total amount required for assessment
($100 per count) to the Clerk, United States District Court, before 5:00 p.m. on the date of
pleading guilty. The defendant further agrees to participate in the Inmate Financial .
Responsibility Program to the extent necessary to fulfill all financial obligations due and owing
under this agreement and the law.

10, If applicable, the defendant agrees to reimburse the United States for the cost of
court-appointed counsel and agrees that the Court may include such reimbursement in the Order
of Judgment.

Ili. Procedure

11. The defendant agrees that a duly-qualified federal Magistrate Judge may conduct
the hearing required by Fed. R. Crim. P. 11.

 
12. With the Court’s permission, the factual basis, as required by Fed. R. Crim. P.
11(b)(3), will be deferred until the time of sentencing. The defendant stipulates that there is a
factual basis for the plea of guilty and that the Court may use the offense conduct set out in the
Presentence Report, except any facts to which the defendant has objected, to establish a factual
basis for the defendant’s plea.

IV. Waivers

13. The defendant understands and agrees that if he should fail to specifically perform
or to fulfill completely each and every one of his obligations under this Plea Agreement, then the
United States will be relieved of its obligations under the agreement, but the defendant will not
be allowed to withdraw his guilty plea.

14.‘ The defendant is aware that the law provides certain limited rights to withdraw a
‘plea of guilty. The defendant has discussed these rights with defense counsel and knowingly and
expressly waives any right to withdraw the plea once the District Court has accepted it.

15. The defendant acknowledges that Federal Rule of Criminal Procedure 11(f) and
Federal Rule of Evidence 410 are rules which ordinarily limit the admissibility of statements
made by a defendant in the course of plea discussions or plea proceedings if a guilty plea is later
withdrawn. The defendant knowingly and voluntarily waives the nghts which arise under these
Rules. As a result of this waiver, he understands and agrees that any statements which are made
in the course of his guilty plea or in connection with his cooperation pursuant to this plea
agreement will be admissible against him for any purpose in any criminal or civil proceeding if
his guilty plea is subsequently withdrawn.

16. The defendant understands and agrees that by pleading guilty, he is expressly
waiving the following rights:

to be tried by a jury;

to be assisted by an attorney at trial;

to confront and cross-examine witnesses; and,
not to be compelled to incriminate himself.

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17. Defendant and defendant’s counsel warrant that they have discussed: (1)
defendant’s rights pursuant to 18 U.S.C. § 3742, 28 U.S.C. § 2255, and similar authorities to
contest a conviction and/or sentence through an appeal or post-conviction after entering into a
plea agreement; (2) whether or not there are potential issues which might be relevant to an appeal
or post-conviction action; and (3) the possible impact of any such issue on the desirability to the
defendant of entering into this plea agreement.

 

 
Defendant, in exchange for the concessions made by the United States in this plea
agreement, waives all such rights to contest the conviction and/or the sentence except for: (1)
claims of ineffective assistance of counsel; or (2) prosecutorial misconduct.

Also, in exchange for the concessions made by the United States, defendant agrees that
the United States preserves all its rights and duties with respect to appeal as set forth in 18 U.S.C.
§ 3742(b), while the defendant waives all rights to appeal or collaterally attack the sentence of
conviction with three the exceptions set for above. This agreement does not limit the United
States in its comments in or responses to any post-conviction matters.

18. The defendant waives all rights, whether asserted directly or by a representative,
to request or to receive from any department or agency of the United States any records
pertaining to the investigation or prosecution of this case, including without limitation any
records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy
Act of 1974, 5 U.S.C. § 552a.

19. The defendant stipulates that any sentence that falls within the applicable guideline
range as determined by the United States Probation Office and pursuant to any departures from
the applicable range as recommended by the government is per se reasonable, The defendant
waives any right to contest such a sentence on the basis that the Court’s imposition of such a
sentence was unreasonable or an abuse of its discretion.

V. Assistance to Government

20. If requested by the United States, but only if so requested, the defendant agrees to
cooperate with the United States, including but not limited to the following:

a, The defendant will provide truthful information about the subject charges
and about any other criminal activity within the defendant’s knowledge to any
government agent or agency that the United States designates.

b. The defendant will testify truthfully in any trial, hearing, or grand jury
proceeding, including, but not limited to, testimony against any co-defendants, as the
United States designates.

C. The defendant agrees to truthfully complete a financial statement form
provided by the United States Attorney. The defendant shall date said form and si gn it
under penalty of perjury, thereby acknowledging that his financial statement fully and
completely discloses his financial condition as of the date it is signed. Defendant shall
update the financial statement with any material changes to his financial condition,
Defendant shall provide his signed and dated financial statement within 30 days of his
signature on this plea agreement and any updates within seven days of the event changing
his financial condition. Defendant understands and agrees that his financial statement

 

 
will be used for the collection of any fine or restitution ordered by the Court, and the
identification of property subject to forfeiture. The parties agree that the defendant’s
failure to timely and accurately complete and sign a financial statement and any update
-may, in addition to any other penalty or remedy authorized by law, constitute his failure
to accept responsibility under U.S.S.G. § 3E1.1.

For the preparation of his Presentence Report, the defendant agrees to cooperate
fully with and make a full disclosure of all current and projected assets and property to
the United States Probation Office. If the defendant is ordered to serve a term of
supervised release or probation, he agrees to make a full disclosure of his assets and
property to the United States Probation Office prior to the termination of his supervised
release or probation.. If the defendant should fail to make the aforementioned full
disclosures, then the United States will be relieved of its obligations under the Plea
Agreement, but the defendant will not be allowed to withdraw his guilty plea.

d. In the event that the defendant’s cooperation includes testifying, the
defendant hereby waives payment of any witness fees or expenses to which he may be
otherwise entitled pursuant to 28 U.S.C. § 1821.

e. The defendant understands that the United States desires only truthful and
accurate information and testimony and, in fact, that knowingly giving false information
or testimony can be prosecuted as an additional criminal offense.

Further, if the defendant knowingly gives false testimony, the United States will
be relieved of its obligations under this Plea Agreement, except that the defendant’s plea
of guilty and the resulting guilty verdict will stand.

f. The defendant will not violate any federal, state, or local law, or any order
of any court, including any conditions of pretrial, pre-sentence, or post-sentence release,

Nothing that the defendant discloses pursuant to this Pilea Agreement will be used
against him in any other criminal proceeding, subject to the following exceptions:

1. the United States or other jurisdiction may use any and all relevant
information regarding crimes of violence;

2. the United States may use any and ail information as necessary in a
prosecution for perjury, or in any trial for impeachment or rebuttal;

3. if the defendant withdraws his plea of guilty, the United States may
use any and all disclosures in any subsequent trials or criminal
proceedings;

 

 

 
4. if the defendant violates any of the terms of this Plea Agreement,
including the obligation to provide truthful information, then the United
States may use any and all disclosures in subsequent trials or criminal
proceedings; and,

5. the United States may make indirect use of any information that the
defendant provides, including investigative leads or other witnesses.

g. The defendant’s obligation under this section is a continuing one, and will
continue after sentencing until all investigations and/or prosecutions to which the
defendant’s cooperation may be relevant have been completed. This provision is a
material condition of this Plea Agreement and of all benefits that accrue to the defendant
pursuant to this agreement.

In the interests of fulfilling all obligations under this section, the defendant agrees
to waive all rights under Chapters 213 and 208 of Title 18 until such time as the United
States determines that all relevant investigations and/or prosecutions have been
completed.

h. The defendant fully understands that any breach of this agreement,
including but not limited to withholding information, misleading the United States or any
law enforcement officer, or failing to testify truthfully at any trial, grand jury, or other
judicial proceeding, will allow the government, in its sole discretion, to withdraw from its
obligations under this Plea Agreement. In such event, the United States will be free to
proceed on any properly-filed pending, superseding, or additional charges, including any
charges dismissed pursuant to this agreement.

21. | When and if the defendant assists the government as described above:

a. The United States, in its sole discretion, will determine whether said
assistance has been substantial.

b. Upon a determination that the defendant has rendered substantial
assistance, the government may make a motion pursuant to U.S.S.G. § 5K1.1 for
imposition of a sentence below the applicable Sentencing Guidelines. The United States
may also, within its sole discretion, move the Court pursuant to 18 U.S.C. § 3553(e) to
impose a sentence below any applicable statutory mandatory minimum. Any substantial
assistance motion will require the approval of the United States Attorney.

The defendant recognizes that, even if the United States makes a recommendation
pursuant to U.S.S.G. § 5K1.1, the Court cannot depart below the statutory minimum
unless the United States also includes a specific recommendation pursuant to 18 U.S.C. §
3553(e).

 

 
c. Regardless of the nature and extent of any substantial assistance that the
defendant renders, the United States will not move for a downward departure if the
defendant also knowingly furnishes information that is materially false.

d. Any determination that the defendant has failed to provide substantial |
assistance or has knowingly provided false information is within the sole discretion of the |
United States, and the defendant waives all objections and rights of appeal or collateral
attack of such a determination.

e. The defendant understands that if the United States makes a motion for
downward departure, the motion is not binding on the District Court. The Court will
determine in its discretion whether to grant or deny such departure and the extent of the
departure. -

VI. Conclusion

22. The defendant understands that if he breaches this Plea Agreement, or violates any
federal, state or local law, or any order of any court, including any condition of pre-trial or pre-
sentence, or post-sentence release, the United States will be relieved of its obligations under this
Plea Agreement, but the defendant will not be allowed to withdraw his guilty plea. The United

States will be free to proceed on any properly-filed dismissed, pending, superseding, or
additional charges.

23, There are no agreements, representations, or understandings between the parties in
this case, other than those explicitly set forth in this Plea Agreement and none will be entered
into unless executed in writing and signed by all parties.

  
 

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Assistant United States Attorney

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CHRISTOPHER FIALKO, Attomey for Defendant

 

 

HAISSAM NASHAR, a/k/a “Sam,” Defendant

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